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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  JORDAN GALLACHER,                               )
                                                  )        Civil Action No. 2:21-cv-01675
                        Plaintiff,                )
                                                  )        Magistrate Judge Lisa Pupo Lenihan
                        v.                        )
                                                  )
  GIANT EAGLE, INC.,                              )
                                                  )
                        Defendant.                )

                                             ORDER

        Counsel filed a (ECF No. 8) Notice of Settlment. The only matters remaining will be the

payment of the settlement proceeds and the submission of a stipulation for dismissal under

Fed.R.Civ.P. 41(a). It appears that there is no further action required by the court at this time.

Therefore,

        IT IS ORDERED this 19th day of January, 2022, that the Clerk of Court mark this case

CLOSED. Nothing contained in this order shall be considered a dismissal or disposition of this

action. Should further proceedings be required, either party may file a motion to re-open and this

case will proceed as if this order had not been entered.

      IT IS FURTHER ORDERED that the Court expressly retains jurisdiction in this matter to

consider any issue arising during the period when settlement is being finalized including, but not

limited to, enforcing settlement.



                                                              s/Lisa Pupo Lenihan
                                                              Lisa Pupo Lenihan
                                                              United States Magistrate Judge

cc:     All Counsel of Record.
